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                                                                                                United States Bankruptcy Court
                                                                                                    Southern District of Texas

                                                                                                        ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                         January 31, 2024
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

                                                           §
In re:                                                     §        Chapter 11
                                                           §
INSTANT BRANDS ACQUISITION                                 §        Case No. 23-90716 (MI)
HOLDINGS INC., et al.,                                     §
                                                           §
                 Debtors.1                                 §        Jointly Administered
                                                           §

                    JOINT STIPULATION AND AGREED ORDER
              REGARDING DISCOVERY AND PLAN OBJECTION BRIEFING

         Instant Brands Acquisition Holdings, Inc. and certain of its affiliates (collectively, the

“Debtors”), each of which is a debtor and debtor in possession in the above-captioned chapter 11

cases (the “Chapter 11 Cases”) pending before the United States Bankruptcy Court for the

Southern District of Texas (the “Court”), GuangDong Midea Consumer Electric Manufacturing

Company Limited, FoShan ShunDe Midea Electrical Heating Appliances Manufacturing

Company Limited, Midea Electric Trading (Singapore) Co. Pte Ltd. (collectively, “Midea”),

Zhejiang Tianxi Kitchen Appliance Co., Ltd. (“Tianxi,” and together with Midea, the

“Objecting Suppliers”), 2 and the the Official Committee of Unsecured Creditors (the

“Committee”) hereby enter into this stipulation and agreed order (the “Stipulation and Agreed

Order”):


         1
           The debtors and debtors in possession in the Chapter 11 cases, along with the last four digits of their
respective employer identification numbers or registration numbers in the applicable jurisdictions, are as follows:
Instant Brands (Texas) Inc. (2526); Instant Brands Acquisition Holdings Inc. (9089); Instant Brands Acquisition
Intermediate Holdings Inc. (3303); Instant Brands Holdings Inc. (3318); URS-1 (Charleroi) LLC (7347); Instant
Brands LLC (0566); URS-2 (Corning) LLC (8085); Corelle Brands (Latin America) LLC (8862); EKCO Group,
LLC (7167); EKCO Housewares, Inc. (0216); EKCO Manufacturing of Ohio, Inc. (7300); Corelle Brands (Canada)
Inc. (5817); Instant Brands (Canada) Holding Inc. (4481); Instant Brands Inc. (8272); and Corelle Brands (GHC)
LLC (9722). The address of the debtors’ corporate headquarters is 3025 Highland Parkway, Suite 700, Downers
Grove, IL 60515.
         2
            The Debtors, the Objecting Suppliers, and the Committee shall each be defined herein as “Party” and,
collectively, the “Parties.”
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        WHEREAS, on December 22, 2023, the Debtors filed the (a) Combined Disclosure

Statement and Joint Chapter 11 Plan of Reorganization Plan of Instant Brands Acquisition

Holdings Inc. and its Debtor Affiliates [Docket No. 845] (as altered, amended, modified, or

supplemented by the solicitation version [Docket No. 926-1] and as may be further altered,

amended, modified, or supplemented from time to time in accordance with the terms thereof

(including all appendices, exhibits, schedules, and supplements thereto), the “Combined DS and

Plan,” the “Disclosure Statement,” or the “Plan,” as applicable)3 and (b) Debtors’ Emergency

Motion For Entry of Orders (I)(A) Approving the Disclosure Statement on a Conditional Basis,

(B) Approving the Solicitation and Tabulation Procedures, (C) Approving the Forms of Ballots,

Solicitation Package, and Notices, (D) Establishing Certain Dates and Deadlines in Connection

with the Solicitation and Confirmation of the Plan, (E) Scheduling a Combined Hearing For

Final Approval of the Disclosure Statement and Confirmation of the Plan, and (F) Granting

Related Relief and (II) Approving the Disclosure Statement on a Final Basis [Docket No. 846]

(the “Solicitation Motion”);

        WHEREAS, on January 6, 2024, Midea and Tianxi each filed an objection and

reservation of rights to the Combined DS and Plan and Solicitation Motion [Docket Nos. 870,

876] (“Suppliers’ Objections”);

        WHEREAS, on January 11, 2024, the Court entered an Order (I) Approving the

Disclosure Statement on a Conditional Basis, (II) Approving the Solicitation and Tabulation

Procedures, (III) Approving the Forms of Ballots, Solicitation Package, And Notices, (Iv)

Establishing Certain Dates and Deadlines in Connection With the Solicitation and Confirmation

        3
            Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
solicitation version of the Combined DS and Plan [Docket No. 926-1], including, for the avoidance of doubt, the
defined terms incorporated in the language in paragraph 5 of this Stipulation and Agreed Order to be inserted in the
Confirmation Order.

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of The Plan, (V) Scheduling a Combined Hearing for Final Approval of the Disclosure Statement

and Confirmation of the Plan, and (VI) Granting Related Relief [Docket No. 924] (“January 11

Order”);

       WHEREAS, the Combined Hearing, as defined in the January 11 Order, to consider final

approval of the Disclosure Statement and Confirmation of the Plan, is currently scheduled to be

held on February 15, 2024 (“Combined Hearing”);

       WHEREAS, on January 16, 2024, the Objecting Suppliers initiated an adversary

proceeding captioned Guangdong Midea Consumer Electric Manufacturing Company Limited,

Foshan Shunde Midea Electrical Heating Appliances Manufacturing Company Limited, Midea

Electric Trading (Singapore) Co. Pte Ltd., and Zhejiang Tianxi Kitchen Appliance Co., Ltd., v.

Instant Brands (Texas) Inc., Instant Brands Acquisition Holdings Inc., Instant Brands

Acquisition Intermediate Holdings Inc., Instant Brands Holdings Inc., URS-1 (Charleroi) LLC,

Instant Brands LLC, URS-2 (Corning) LLC, Corelle Brands (Latin America) LLC, EKCO

Group, LLC, EKCO Housewares, Inc., Instant Brands Inc., and Corelle Brands (GHC) LLC,

Case No. Adv. Pro. No. 24-03007 (Bankr. S.D.Tex.) (the “Suppliers’ Adversary Proceeding”)

and filed an Adversary Complaint [Adv. Pro. Docket No. 1] therein seeking declaratory relief

against the Debtors (“Suppliers’ Adversary Complaint”); and

       WHEREAS, the Parties have met and conferred, and in the interest of facilitating an

expeditious and efficient resolution of the legal issues raised in the Suppliers’ Objections and

Suppliers’ Adversary Complaint, including the validity and extent of the Debtors’ indemnity

rights against the Objecting Suppliers before the Combined Hearing, the Parties have agreed to

bifurcate, and litigate expeditiously, certain legal issues before undertaking any further discovery




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on, and litigation with respect to, factual issues raised in the Suppliers’ Objections and Suppliers’

Adversary Complaint that may require an evidentiary hearing.

       NOW, THEREFORE, IT IS HEREBY AGREED AND STIPULATED, AND UPON

APPROVAL BY THE COURT, IT IS ORDERED THAT:

       1.      The Adversary Proceeding and Adversary Complaint, and any deadlines related

thereto, shall be temporarily stayed and held in abeyance, until, at the earliest, the Combined

Hearing and subject to the meet and confer obligations set forth in paragraph 8, below.

       2.      The Suppliers’ Objections and the allegations in Counts One through Three of the

Suppliers’ Adversary Complaint shall be deemed to be an objection to final approval of the

Disclosure Statement and confirmation of the Plan, pursuant to paragraph 13 of the January 11

Order (“Suppliers’ Plan Objection”).         The Parties shall file briefing with respect to the

Suppliers’ Plan Objection on the issues of whether the Debtors assumed and assigned the Supply

Agreements in toto; whether the Debtors can retain, assert, and/or assign any indemnity rights

and/or causes of action under the Supply Agreements, including, but not limited to, any

“Retained Supply Agreement Claim;” whether any claims Debtors may have held against the

Objecting Suppliers are no longer enforceable and now cannot be liquidated; and whether the

Master Assignment 2.0 (as defined in the Suppliers’ Adversary Complaint) violated the

Bankruptcy Code and/or Court’s Sale Order as a matter of law (collectively, the “Phase One

Topics”), in accordance with the following schedule:

                           Event                                             Deadline

Deadline for Debtors’ to File Any Opposition to the January 27, 2024
Suppliers’ Plan Objection and the Committee to file any
joinder in the Debtors’ Opposition

Deadline for the Objecting Suppliers to File Any Response       February 5, 2024

Deadline for Debtors to File Any Reply (to be limited to 8 February 7, 2024 (12:00 P.M.
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                                Event                                                     Deadline

pages) and Committee to file any joinder in the Debtors’ Prevailing Central Time)
Opposition

Hearing on Suppliers’ Plan Objection                                       February 9, 2024 at 8:00 a.m.



         3.       Discovery between the Parties, including the Committee, in connection with the

matters raised in the Suppliers’ Plan Objection and the Suppliers’ Adversary Complaint is stayed

until an order is entered by this Court resolving the Suppliers’ Plan Objection, provided,

however, that (a) by no later than Friday, January 26, 2024, the Debtors shall provide revised

confidentiality designations for discovery that has already been produced under a “Professional

Eyes Only” designation pursuant to the provisions of that certain Stipulated Protective Order

[Docket No. 963] (“Protective Order”); (b) any Party may use such discovery in connection

with the Suppliers’ Plan Objection, subject to the Debtors’ forthcoming revised confidentiality

designations and in accordance with the applicable provisions of the Protective Order; (c) the

Debtors shall respond to the Objecting Suppliers’ Interrogatory Nos. 8, 18, 20, 22, and 24 by

January 29, 2024; 4 and (d) the Debtors agree to provide the Objecting Suppliers a list of all

Retained Causes of Action by February 5, 2024.5

         4.       This Court’s orders resolving the Suppliers’ Plan Objection:



         4
            The Parties agree that any issues the Objecting Suppliers may raise with respect to the adequacy of the
Debtors’ written responses to Objecting Suppliers’ Interrogatory Nos. 8, 18, 20, 22, and 24 shall not be a basis for
the Objecting Suppliers to seek to adjust the timelines agreed to in paragraph 2 of this Stipulation and Agreed Order,
and the Parties will immediately meet and confer in good faith with respect to any issues raised with respect to any
written responses to the foregoing Interrogatories.
         5
           For the avoidance of doubt, nothing in this Stipulation and Agreed Order shall stay or waive any
discovery between the Parties with respect to any other issues concerning the Plan, including but not limited to any
subsequent or further objection of the Suppliers on additional grounds not set forth in the Suppliers’ Plan Objection
and/or the Suppliers’ Adversary Complaint, and all rights of the Parties with respect to all such discovery are
reserved.

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       (i)    shall be final orders upon which final judgment shall enter, in whole or in
              part, and thereby be immediately appealable upon entry of complete or
              partial final judgment by the Court;

      (ii)    each Party waives any argument contesting the finality or appealability of
              any order resolving the Suppliers’ Plan Objection, including but not
              limited to in the context of a motion for stay pending appeal;

      (iii)   shall not constitute res judicata, collateral estoppel, law of the case, or
              grounds to assert mootness with respect to any other issues of fact and/or
              law with respect to the Suppliers’ Adversary Complaint and/or the
              Suppliers’ Plan Objection that were not the subject of or resolved by such
              order(s);

      (iv)    shall be treated as dispositive rulings with respect to the same issues of
              law arising in and with respect to the Suppliers’ Adversary Complaint; and

       (v)    shall not be dispositive with respect to any issues of contested fact in the
              Suppliers’ Objections and/or Adversary Complaint, including, but not
              limited to, any allegations of bad faith therein.

5.    The following language shall be included in the Confirmation Order:

      Nothing contained herein shall affect, impair, diminish, or
      otherwise moot the issues to be litigated in accordance with
      paragraph 8 of the Joint Stipulation and Agreed Order regarding
      Discovery and Plan Objection Briefing [Docket No [•]] (the “Joint
      Stipulation”) or any appeal of the Bankruptcy Court’s ruling or
      order resolving any portion of the Suppliers’ Adversary Complaint
      in the Suppliers’ Adversary Proceeding and/or the Suppliers’ Plan
      Objection (each as defined in the Joint Stipulation). So long as the
      issues that may continue to be litigated pursuant to the Joint
      Stipulation are not finally adjudicated, withdrawn, settled, or
      otherwise resolved, (a) all alleged Retained Causes of Action
      against an Objecting Supplier are hereby stayed and enjoined until
      six months from the date of the Joint Stipulation and (b) all alleged
      Product Liability Claims (including claims seeking Third Party
      Indemnification) are hereby stayed and enjoined pending a Final
      Order fully resolving the foregoing issues (if such resolution will
      be effectuated by a Final Order fully resolving the Suppliers’
      Adversary Proceeding, such order shall be incorporated herein as
      if fully restated herein). Except as otherwise specifically stated
      herein, the rights of the (Reorganized) Debtors, the Objecting
      Suppliers, the Creditors’ Committee, the Ad Hoc Group of
      Crossover Lenders, and the Appliances Buyers are hereby fully
      reserved without prejudice.

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       6.      To the extent the Court has not entered an order resolving the Suppliers’ Plan

Objection before February 13, 2024, the Parties agree to meet and confer with respect to date of

the Combined Hearing, and to request a status conference with the Court regarding the same.

       7.      The Debtors were properly and validly served with the Suppliers’ Adversary

Complaint by the Objecting Suppliers, and the Debtors are deemed to have waived any rights

and/or arguments with respect to service of the Suppliers’ Adversary Complaint.

       8.      Following the Court’s ruling on the Suppliers’ Plan Objection, the Parties shall

meet and confer on next steps with respect to the Suppliers’ Adversary Proceeding and

Suppliers’ Adversary Complaint, including resuming discovery.            To the extent resuming

litigation of the Suppliers’ Adversary Proceeding is necessary following the Court’s ruling on the

Suppliers’ Plan Objection, the litigation in the Suppliers’ Adversary Proceeding shall resume

after the Combined Hearing (which may be after the Effective Date of the Plan) on a schedule to

be mutually agreed by the Parties and subject to the Court’s approval. The Parties agree that the

Committee shall be permitted to intervene in the Suppliers’ Adversary Proceeding without

further Order of the Court. For the avoidance of doubt, the continuation of litigation in the

Adversary Proceeding pursuant to this paragraph shall not provide a basis for delaying entry of

the confirmation order following the Combined Hearing.

       9.      Nothing in this Stipulation and Agreed Order shall constitute an admission of fact

or liability with respect to any claims held by, or causes of action or proofs of claim that may be

filed by or on behalf of, the Objecting Suppliers. Further, nothing herein shall constitute an

acknowledgement or finding as to any issue, and all Parties reserve all rights.

       10.     This Stipulation and Agreed Order may not be modified, amended, or vacated

other than by a signed writing executed by the Parties and approved by the Court.


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       11.     This Stipulation and Agreed Order is and shall be binding on the Parties and their

successors and assigns.

       12.     This Stipulation and Agreed Order shall be effective immediately upon entry by

the Court.

       13.     The Court retains exclusive jurisdiction with respect to all matters or disputes

arising from or relating to the implementation, interpretation, and enforcement of this Stipulation

and Agreed Order.

Signed: ________________, 2024
 Signed: January
         October 31,
                 17, 2024
                     2018
Houston, Texas                                  MARVIN ISGUR
                                                UNITED STATES BANKRUPTCY JUDGE
                                                   ____________________________________
                                                                   Marvin Isgur
                                    [Signature page follows]
                                                         United States Bankruptcy Judge




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Dated: January 27, 2024

Respectfully submitted,

                                           HAYNES AND BOONE, LLP
 ARENTFOX SCHIFF LLP

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